19 F.3d 1429
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marcus A. JOSEPH, Plaintiff Appellant,v.H.M. TURBEVILLE, in his individual capacity;  Gary Martin,in his individual capacity;  Mike Gandy, in hisindividual capacity, Defendants Appellees.
    No. 94-6054.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 17, 1994.Decided March 18, 1994.
    
      Appeal from the United States District Court for the District of South Caroline, at Columbia.  Joseph F. Anderson, Jr., District Judge.
      Marcus A. Joseph, appellant Pro Se.
      George C. James, Sr., Richardson, James &amp; Player, Sumter, SC;  Julius F. Parker, Jr., Parker, Shelding, Labasky &amp; Corry, Tallahassee, FL, for appellees.
      D.S.C.
      AFFIRMED.
      Before RUSSELL, MURNAGHAN, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Joseph v. Turbeville, No. CA-92-3262-17AJ (D.S.C. Jan. 5, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    